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                 UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF SOUTH DAKOTA
                           CENTRAL DIVISION



 UNITED STATES OF AMERICA,                 CR   11-3D/~)-

                    Plaintiff,
                                           INDICTMENT
       vs.
                                           ABUSIVE SEXUAL CONTACT

 FRANKIE DELGADO,                          18 U.S.C. §§ 7, 1152, 2244(b), &
                                           2246(3)
                    Defendant.


      The Grand Jury charges:

                                     COUNT I:

      On or about between the 1st day of March, 2011, and the 31 st day of

May, 2011, at the Indian Health Services Hospital in Eagle Butte, in the

territorial jurisdiction of the United States, in the District of South Dakota,

Frankie Delgado did knowingly, and without Tina Harris's permission, engage

in sexual contact, that is, the intentional touching, either directly and through

the clothing of Tina Harris's breast, with an intent to abuse, humiliate, harass

and degrade Tina Harris, and to arouse and gratify his sexual desire, in

violation of 18 U.S.C. §§ 7, 2244(b), and 2246(3).

                                    COUNT II:

      On or about between the 1st day of March, 2011, and the 31 st day of

May, 2011, at the Indian Health Services Hospital in Eagle Butte, in the
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territorial jurisdiction of the United States, in the District of South Dakota,

Frankie Delgado did knowingly, and without Tina Harris's permission, engage

in sexual contact, that is, the intentional touching, either directly and through

the clothing of Frankie Delgado's genitalia, with Tina Harris's hand, with an

intent to abuse, humiliate, harass and degrade Tina Harris, and to arouse and

gratify his sexual desire, in violation of 18 U.S.C. §§ 7, 2244(b), and 2246(3).

                                    COUNT III:

      On or about the 5th day of May, 2011, at Eagle Butte, in Indian Country,

in the District of South Dakota, Frankie Delgado, did knowingly and without

Keri Fischer's permission, engage in sexual contact, that is, the intentional

touching, either directly and through the clothing of the genitalia, groin, and

inner thigh of Keri Fischer, an Indian, with an intent to abuse, humiliate,

harass and degrade Keri Fischer, and to arouse and gratify his sexual desire, in

violation of 18 U.S.C. §§ 1152, 2244(b), and 2246(3).

                                             A TRUE BILL:




BRENDAN V. JOHNSON
United States Attorney



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